           Case 3:23-cv-03223-AMO Document 98 Filed 02/08/24 Page 1 of 22



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                                  UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
14
     IN RE OPENAI CHATGPT LITIGATION                  Master File No. 3:23-cv-03223-AMO
15
     This document relates to:                        NOTICE OF MOTION AND MOTION TO
16                                                    ENJOIN DEFENDANTS AND THEIR
     Case No. 3:23-cv-03416-AMO                       COUNSEL FROM PROCEEDING IN
17   Case No. 3:23-cv-04625-AMO                       SUBSTANTIALLY SIMILAR CASES IN THE
                                                      SOUTHERN DISTRICT OF NEW YORK
18
                                                      Judge: Araceli Martínez-Olguín
19                                                    Date: April 4, 2024
                                                      Time: 2:00 p.m.
20                                                    Courtroom 10 — 19th Floor

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      Master File No. 3:23-cv-03223-AMO
     NOTICE OF MOTION AND MOTION TO ENJOIN DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING
                  IN SUBSTANTIALLY SIMILAR CASES IN THE SOUTHERN DISTRICT OF NEW YORK
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 1          PLEASE TAKE NOTICE that on April 4, 2024, at 2:00 p.m., or as soon thereafter as this

 2   matter may be heard, in Courtroom 10, 19th Floor, 450 Golden Gate Avenue, San Francisco, CA 94102,

 3   the Honorable Araceli Martínez-Olguín presiding, Plaintiffs in the In re OpenAI ChatGPT Litigation

 4   pending before this Court, Lead Case No. 3:23-cv-03223-AMO (N.D. Cal. 2023), on behalf of

 5   themselves and all others similarly situated, hereby move this Court, United States District Judge, at

 6   the United States District Court for the Northern District of California, 450 Golden Gate Avenue, San

 7   Francisco, CA 94102, to enjoin Defendants and their counsel in the Authors Guild et al. v. OpenAI et al.,

 8   Case No. 1:23-cv-08292-SHS (S.D.N.Y. 2023) from proceeding in the Southern District of New York.

 9          In support of the motion, Plaintiffs rely on the accompanying Memorandum of Law, the

10   Declaration of Joseph R. Saveri in support of Plaintiffs’ Motion to Enjoin Defendants and Their

11   Counsel from proceeding in the Southern District of New York, the [Proposed] Order to Enjoin

12   Defendants from Proceeding in the Southern District of New York, the file and docket in this matter,

13   the file and docket in the subsequently filed actions in the Southern District of New York, and any other

14   facts and arguments to be submitted to the Court.

15

16   Dated: February 8, 2024                         By:          /s/Joseph Saveri
                                                                      Joseph R. Saveri
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      Master File No. 3:23-cv-03223-AMO              i
     NOTICE OF MOTION AND MOTION TO ENJOIN DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING
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11    Counsel for Individual and Representative
      Plaintiffs and the Proposed Class
12
                                  UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
14
     IN RE OPENAI CHATGPT LITIGATION                  Master File No. 3:23-cv-03223-AMO
15
     This document relates to:                        PLAINTIFFS’ MEMORANDUM OF
16                                                    POINTS AND AUTHORITIES IN SUPPORT
     Case No. 3:23-cv-03416-AMO                       OF MOTION TO ENJOIN DEFENDANTS
17   Case No. 3:23-cv-04625-AMO                       AND THEIR COUNSEL FROM
                                                      PROCEEDING IN A SUBSTANTIALLY
18                                                    SIMILAR CASE IN THE SOUTHERN
                                                      DISTRICT OF NEW YORK
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         PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
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                                        SOUTHERN DISTRICT OF NEW YORK
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 1   I.       INTRODUCTION
 2            Plaintiffs Sarah Silverman, Paul Tremblay, Christopher Golden, Richard Kadrey, Michael
 3   Chabon, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam,
 4   Laura Lippman, Rachel Louise Snyder, Ayelet Waldman, and Jacqueline Woodson (collectively, the
 5   Tremblay Plaintiffs) are named plaintiffs in the first-filed class action (“Tremblay Action”).1 They are
 6   each book authors who initiated the litigation challenging the copyright infringement and other conduct
 7   by OpenAI, Inc. and its affiliate entities (collectively, “OpenAI”). The Tremblay Action states claims
 8   based on the impermissible use of Plaintiffs’ copyrighted work to train Defendants’ artificial intelligence
 9   products. In fact, after a significant and lengthy prefiling investigation, Plaintiffs’ attorneys filed the
10   Tremblay Action on June 28, 2023. The Tremblay Action was the first case filed in the United States
11   alleging that OpenAI infringed Plaintiffs’ and a Class of authors’ copyrights when making copies of their
12   copyrighted works to train OpenAI’s large language models. Lawsuits subsequently filed in the
13   Southern District of New York, beginning with Authors Guild et al. v. Open AI, Inc. et al., Case No. 1:23-
14   cv-08292-SHS (S.D.N.Y.) (“Authors Guild Action”), raise substantially similar allegations and claims
15   against the Defendants. The instant case was pending in this Court well before the filing of the Authors
16   Guild Action, which is substantially similar to the Tremblay Action.
17            The Tremblay Plaintiffs’ Complaint was the first in the United States to allege that OpenAI
18   committed direct copyright infringement when it made copies of Plaintiffs’ books—without Plaintiffs’
19   permission—during the process of training OpenAI’s language models and was novel and ground-
20   breaking when it was filed. Now, there are numerous copycat complaints and cases, including the
21   Authors Guild Action. Meanwhile, the Tremblay Action is substantially advanced with motion practice
22   and discovery well underway. See Declaration of Joseph R. Saveri (“Saveri Decl.”), ¶¶ 5-7. A case
23   schedule has been entered, including dates through class certification and summary judgment. ECF No.
24   51.
25

26
     1
27    The Court consolidated the Tremblay Action with the other actions filed in this District. ECF No. 74.
     The Court then established a master docket number and a consolidated caption for this litigation, In Re
28   OpenAI ChatGPT Litigation, No. 3:23-cv-03223-AMO. Id.
         Master File No. 3:23-cv-03223-AMO              1
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
         DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING IN A SUBSTANTIALLY SIMILAR CASE IN THE
                                           SOUTHERN DISTRICT OF NEW YORK
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 1            The subsequently filed S.D.N.Y. Actions are strikingly similar to the first-filed Tremblay

 2   Complaint pending in this Court. Like the Tremblay Action, each of the S.D.N.Y. Actions asserts claims

 3   arising from the same course of conduct by Defendants, namely the impermissible copying and other

 4   use of Plaintiffs’ copyrighted works used as training for OpenAI’s large language models, and the

 5   commercial products based on that technology. They each assert claims under theories of copyright

 6   infringement against OpenAI for OpenAI’s copying Plaintiffs’ books during the training process. Those

 7   claims share common and overlapping theories of liability. Like the Tremblay Action, each of the

 8   S.D.N.Y. Actions asserts these claims on behalf of classes or plaintiffs entirely identical to or subsumed

 9   by the class first asserted in the Tremblay Action against OpenAI, who are defendants in all relevant

10   actions. Indeed, the parties to the S.D.N.Y. Actions readily admit that the Tremblay Action was first-filed

11   and pending in this District. OpenAI, which is represented by the same counsel in both actions,

12   previously agreed that the Authors Guild Complaint is substantially similar to the first-filed Tremblay

13   Complaint and represented to the court in Authors Guild that it would seek dismissal under the first-to-

14   file rule:

15            Defendants anticipate filing a motion to dismiss under the first-filed rule, or, in the alternative, to
              stay this action pending resolution of the three substantially similar putative class actions
16            pending in the District Court for the Northern District of California, or, in the further
17            alternative, to transfer this matter to the Northern District of California either under the first-
              filed rule or 28 U.S.C. § 1404(a).
18

19   Authors Guild Action, ECF No. 31, ¶ 16. The Tremblay Plaintiffs relied on this representation when
20   made.
21            Most recently, OpenAI changed course—forum shopping for the most favorable schedule. On
22   October 6, 2023, this Court entered a litigation schedule, over OpenAI’s objections. OpenAI objected to
23   sequencing motions for class certification before motions for summary judgment. See Tremblay Action,
24   ECF No. 50 at *12:4-5; Authors Guild Action at ECF No. 31, ¶¶ 33-37. OpenAI wanted to litigate
25   substantive issues before class certification, which is highly uncommon. After briefing, the Court
26   rejected that approach, and instead adopted and entered the schedule submitted by Plaintiffs. The
27   parties are following that schedule. Saveri Decl., ¶¶ 5-6.
28
      Master File No. 3:23-cv-03223-AMO              2
       PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
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 1             Apparently unsatisfied, and aiming to undercut and undo the Court’s Scheduling Order,

 2   OpenAI sought to enter a competing schedule in the Southern District of New York. In so doing,

 3   OpenAI reversed course, ignored its prior representations and stated its intent to seek a stay or transfer

 4   of the S.D.N.Y. Actions. OpenAI agreed to forego its first-to-file motion, a motion to transfer, or indeed

 5   any challenges to the complaint in exchange for the Authors Guild Plaintiffs’ agreement to the schedule

 6   rejected by this Court. Authors Guild Action, ECF No. 31, ¶ 16. By its forum shopping, OpenAI is

 7   creating the likelihood—or certainty—of inconsistent rulings in overlapping class actions, inefficiency,

 8   and the attendant waste of precious judicial resources. This is precisely the type of procedural

 9   gamesmanship the first-to-file rule was adopted to arrest.

10             In order to avoid duplicative efforts, judicial waste, and potentially disparate rulings, the Court

11   should apply the first-to-file rule and enjoin OpenAI from proceeding in substantially identical actions in

12   the Southern District of New York.

13   II.       FACTUAL AND PROCEDURAL BACKGROUND
14             A.     The Tremblay Action
15             On June 28, 2023, Plaintiff Paul Tremblay filed the instant lawsuit captioned Tremblay et al. v.
16   OpenAI, Inc. et al., Case No. 3:23-cv-03223-AMO against OpenAI, Inc., OpenAI, L.P., OpenAI OpCo,
17   L.L.C., OpenAI GP, L.L.C., OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P., and
18   OpenAI Startup Fund Management, L.L.C. (collectively, “OpenAI”). The Tremblay Action asserts
19   these claims on behalf of a nationwide class of all persons or entities domiciled in the United States that
20   own a United States’ copyright in any work that was used as training data for the OpenAI Language
21   Models during the Class Period. ECF No. 1, ¶ 42.2 Specifically, the Tremblay Action alleges that
22   OpenAI engaged in, created, maintained, and operated their large language models in violation of
23   Plaintiffs’ rights under federal law—Direct Copyright Infringement (17 U.S.C. § 106), Vicarious
24   Copyright Infringement (17 U.S.C. § 106), the Digital Millennium Copyright Act – Removal of
25   Copyright Management Information (“CMI”) (17 U.S.C. § 1202 (b)) (“the DMCA”), and state law—
26

27

28   2
         References to “ECF No.” shall refer to electronic filings in the instant action unless otherwise noted.
         Master File No. 3:23-cv-03223-AMO              3
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
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                                           SOUTHERN DISTRICT OF NEW YORK
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 1   Unfair Competition (Cal. Bus. & Prof. Code §§ 17200, et seq.), Negligence, and Unjust Enrichment.

 2   This was the first case in the United States bringing such claims and asserting this theory.

 3            Next, on July 7, 2023, Plaintiffs Sarah Silverman, Christopher Golden, and Richard Kadrey filed

 4   their complaint, alleging similar claims on behalf of an identical class of plaintiffs. Then, on September

 5   8, 2023, Plaintiffs Michael Chabon, David Henry Hwang, Matthew Klam, Rachel Louise Snyder, and

 6   Ayelet Waldman filed their complaint captioned Chabon v. OpenAI, Inc. et al., Case No. 23-cv-04625-

 7   CRB on behalf of an identical proposed class of plaintiffs. Last, on October 5, 2023, the Chabon

 8   Plaintiffs filed their First Amended Class Action Complaint, adding Laura Lippman, Jacqueline

 9   Woodson, Andrew Sean Greer, Ta-Nehisi Coates, and Junot Díaz as additional Plaintiffs. These actions

10   have now been related and consolidated under the master caption, In re OpenAI ChatGPT Litigation.

11   ECF Nos. 26, 53, 74.

12            On October 6, 2023, this Court entered a pretrial schedule in the consolidated actions. ECF No.

13   51. The schedule provides deadlines for discovery, class certification, and expert disclosures. Tremblay

14   Action, ECF No. 51. Notably, over OpenAI’s objections, this Court’s scheduling order sequences class

15   certification before summary judgment. See id. The parties have also briefed and argued a Rule 12

16   motion, conducted a Rule 26(f ) conference, and exchanged initial disclosures. Saveri Decl., ¶ 6. Also,

17   discovery is well underway. Id. Plaintiffs and OpenAI each served their Requests for Production and

18   Interrogatories on December 13, 2023. Id. The parties have also prepared and served objections and

19   responses to the various discovery requests and met and conferred on the discovery requests. Id.

20            B.     The S.D.N.Y. Actions
21            Following the Tremblay Action, four actions were filed in the Southern District of New York.
22   They are each copies of Tremblay, some more obvious than others. Three months after the filing of the
23   Tremblay Action, on September 19, 2023, the Authors Guild filed its complaint against OpenAI, naming
24   the identical affiliated OpenAI entities. Authors Guild Action, ECF No. 1.3 Like the Tremblay Action, the
25   Authors Guild Action is brought on behalf of an overlapping nationwide class of authors. The Tremblay
26   proposed class already includes all such persons. Like Tremblay, the Authors Guild complaint alleges
27
     3
      The original Complaint in the Authors Guild Action is attached as Exhibit B to the Declaration of
28   Joseph R. Saveri.
         Master File No. 3:23-cv-03223-AMO              4
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
         DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING IN A SUBSTANTIALLY SIMILAR CASE IN THE
                                           SOUTHERN DISTRICT OF NEW YORK
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 1   claims for Copyright Infringement under 17 U.S.C. § 501, Vicarious Copyright Infringement, and

 2   Contributory Copyright Infringement. Id., ¶¶ 44-46. In essence, the Authors Guild Action alleges

 3   liability against OpenAI for infringing Plaintiffs’ registered Copyrights when training OpenAI’s large

 4   language models. Id. 4

 5             On November 21, 2023, Julian Sancton filed a substantively similar class action complaint

 6   against OpenAI and affiliated Defendants OpenAI, Inc., OpenAI GP, LLC, OpenAI, LLC, OpenAI

 7   OpCo LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI Holdings, LLC, and Microsoft

 8   Corporation. Sancton et al. v. OpenAI, Inc., No. 23-cv-10211-SHS (S.D.N.Y. Nov. 21, 2023) (the “Alter

 9   Action”), ECF No. 1. 5 On December 19, 2023, Jonathan Alter and others (including Julian Sancton)

10   filed a class action complaint against those same defendants. Alter Action, ECF No. 26 (Am. Compl.).

11   Both the Sancton Action and Alter Action state claims based on the use of their copyrighted material in

12   the training of Defendants’ large language models. The Alter Action asserts claims of copyright

13   infringement and contributory infringement. Id., ¶¶ 33-36. The Alter Action asserts these claims on

14   behalf of the same class defined in Sancton, which purports to represent a nationwide class of nonfiction

15   authors. Id., ¶ 109. The Authors Guild Action and the Alter Action have since been related and

16   consolidated. Authors Guild Action, ECF Nos. 56, 67. On December 27, 2023, The New York Times

17   Company filed a complaint against OpenAI, OpenaAI affiliates and Microsoft Corporation. The N.Y.

18   Times Co. v. Microsoft Corp. et al., Case No. 1:23-cv-11195 (S.D.N.Y. Dec. 27, 2023) (“New York Times

19   Action”).6 Similar to its predecessors, the New York Times Action asserts a claim for direct copyright

20   infringement, vicarious copyright infringement, contributory copyright infringement, violation of the

21   Digital Millennium Copyright Act, common law unfair competition by misappropriation, and trademark

22   dilution. Id., ¶¶ 158-204. The New York Times Action is brought on behalf of a sole plaintiff that is

23   subsumed by the class asserted in the Tremblay Action. On January 5, 2024, Nicholas Basbanes and

24

25   4
      The operative, First Consolidated Class Amended Complaint (“FCCAC”) filed in the Authors Guild
26   Action is attached as Exhibit A to the Declaration of Joseph R. Saveri.
     5
         The Complaint filed in the Alter Action is attached as Exhibit C to the Declaration of Joseph R. Saveri.
27
     6
      The Complaint filed in the New York Times Action is attached as Exhibit E to the Declaration of Joseph
28   R. Saveri.
         Master File No. 3:23-cv-03223-AMO              5
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
         DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING IN A SUBSTANTIALLY SIMILAR CASE IN THE
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 1   other Plaintiffs filed a complaint against OpenAI, OpenAI affiliates and Microsoft Corporation. Basbanes

 2   et al. v. Microsoft Corp. et al., No. 24-cv-00084 (S.D.N.Y. Jan. 5, 2024). Like the others, the Basbanes

 3   Action asserts a claim for direct copyright infringement, vicarious copyright infringement, and

 4   contributory copyright infringement. Id., ¶¶ 26-29. Also, like the Authors Guild and Alter Action, the

 5   Basbanes Action asserts these claims on behalf of a nationwide class of all authors, coextensive with the

 6   class asserted in the Tremblay Action. 7 The Basbanes Action was consolidated with the Authors Guild

 7   Actions on February 6, 2024. Basbanes Action, ECF No. 32.

 8            The S.D.N.Y. Actions duplicate the first-filed Tremblay Action. Each arises out of the same

 9   nucleus of operative facts and is based on the same conduct and theories of liability. Tremblay was the

10   first case in the United States to allege claims arising from the impermissible use of plaintiffs’

11   copyrighted material in connection with the training of OpenAI’s large language models and

12   commercialized generative AI products. The S.D.N.Y. Actions followed suit, alleging substantially

13   similar facts. Based on those facts, like Tremblay, they then state duplicative claims for direct copyright

14   infringement, vicarious copyright infringement, and contributory copyright infringement. They do so

15   on behalf of proposed classes or plaintiffs that are either identical to or are entirely subsumed by the

16   proposed class defined in the first-filed Tremblay Action pending in this Court.

17            In fact, OpenAI agrees. See ECF No. 50 (Joint Case Management Statement) (“The Parties are

18   also aware of a case filed in the District Court for the Southern District of New York . . . . The case

19   appears to include duplicative causes of action.”). This basic fact lies at the heart of OpenAI’s stated

20   position that it would move to dismiss the Authors Guild Action under the first-filed rule. Meanwhile,

21   the parties and this Court have advanced the instant action by consolidating the cases, negotiating and

22   entering a pretrial schedule, conducting discovery, and progressing the litigation.

23            What changed? OpenAI failed to obtain the pretrial schedule it wanted from this Court. After

24   extensive argument and briefing, this Court adopted and entered the schedule suggested by Plaintiffs. In

25   particular, Plaintiffs sought to sequence the class determination prior to summary judgment, which is

26   the accepted procedure under Rule 23. Once that schedule was entered, OpenAI reversed course,

27
     7
      The original Complaint filed in the Basbanes Action is attached as Exhibit D to the Declaration of
28   Joseph R. Saveri.
         Master File No. 3:23-cv-03223-AMO              6
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
         DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING IN A SUBSTANTIALLY SIMILAR CASE IN THE
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 1   looking for a better deal. It then decided it was better served by multiplying the proceedings and

 2   litigating subsequently filed cases, after it obtained scheduling concessions from the S.D.N.Y. Plaintiffs.

 3   See Authors Guild Action, ECF No. 65. Despite the Court’s order, and despite its prior representations,

 4   OpenAI decided to also proceed in a more favorable district.

 5   III.     THE FIRST-TO-FILE RULE WARRANTS ENJOINING THE AUTHORS GUILD
              DEFENDANTS FROM PROCEEDING IN THE S.D.N.Y.
 6

 7            First-to-file motions provide the mechanism to address and prevent litigation of similar

 8   subsequently filed cases. Broadcom Corp. v. Qualcomm Inc., No. SACV 05-468JVSMLGX, 2005 WL

 9   5925585, *2 (C.D. Cal. Sept. 26, 2005) (“When two suits are initiated with substantially similar claims,

10   the general rule is that the first case to be filed has priority. Absent special circumstances, the first case

11   should proceed while the second case is enjoined.”); see also Pacesetter Sys., Inc. v. Medtronic, Inc., 678

12   F.2d 93, 95 (9th Cir. 1982) (“Normally sound judicial administration would indicate that when two

13   identical actions are filed in courts of concurrent jurisdiction, the court which first acquired jurisdiction

14   should try the lawsuit and no purpose would be served by proceeding with a second action.”).

15            First-to-file motions may be brought in the court where the first-filed case is pending or where

16   the subsequently filed cases were filed.8 Indeed, some courts have expressed a preference for allowing

17   the court in the first-filed action to decide the issues. See Amerifreight, Inc. v. Belacon Pallet Servs., LLC,

18   No. 215CV5607RSWLJPRX, 2015 WL 13037420, at *5 (C.D. Cal. Nov. 10, 2015) (noting “several

19   courts have held that the first-filed court should decide whether an exception to the first-to-file rule

20   applies, especially when motions raising identical issues are pending in two different federal courts.”);

21   Brit. Telecommc’ns plc v. McDonnell Douglas Corp., No. C-93-0677 MHP, 1993 WL 149860, at *4 (N.D.

22   Cal. May 3, 1993) (“It is better to let the court in the first-filed action determine whether there are

23   special circumstances that justify dismissing the first-filed action in favor of the second.”); see also

24   Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834, 843–44 (9th Cir. 1986) (finding that the

25   “trial court exercised sound judicial discretion in enjoining the later filed Illinois action.”).

26

27
     8
      In addition to this filing, Plaintiffs are filing in the Southern District of New York a Motion to
28   Intervene and Dismiss and/or Stay the S.D.N.Y. Actions under the first-filed rule.
         Master File No. 3:23-cv-03223-AMO              7
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
         DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING IN A SUBSTANTIALLY SIMILAR CASE IN THE
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 1           The first-to-file rule serves the purpose of promoting judicial efficiency and “should not be

 2   disregarded lightly.” Alltrade, Inc. v. Uniweld Prods., Inc., 946 F.2d 622, 625 (9th Cir. 1991). The

 3   principle underlying the rule promotes “wise judicial administration, giving regard to conservation of

 4   judicial resources and comprehensive disposition of litigation . . . .” Kerotest Mfg. Co. v. C–O–Two Fire

 5   Equip. Co., 342 U.S. 180, 183 (1952).

 6           Courts in this district weigh the following factors in applying the first-filed rule: “(1) the

 7   chronology of the two actions; (2) the similarity of the parties; and (3) the similarity of the issues.”

 8   Kiland v. Bos. Sci. Corp., No. C 10-4105 SBA, 2011 WL 1261130, at *6 (N.D. Cal. Apr. 1, 2011) (internal

 9   citations and quotations omitted). Judges are given ample discretion in deciding to apply the first-to-file

10   rule, and in applying the rule, the court should strive to “maximize economy, consistency, and

11   comity.” Young v. L’Oreal USA, Inc., 526 F. Supp. 3d 700, 704 (N.D. Cal. 2021) (internal citations and

12   quotations omitted).

13           A.      The Tremblay Action and the S.D.N.Y. Actions Involve Substantially Similar Parties
14           The parties in the Tremblay Action are substantially overlapping with the parties in the S.D.N.Y.
15   Actions. In analyzing the first-filed rule in the class action context, “the classes, and not the class
16   representatives, are compared.” Ross v. U.S. Bank Nat. Ass’n, 542 F. Supp. 2d 1014, 1020 (N.D. Cal.
17   2008); see also Manier v. L’Oreal USA, Inc., No. 2:16-CV-06886-ODW-KS, 2017 WL 59066, at *3
18   (C.D. Cal. Jan. 4, 2017) (“Where the proposed classes in both actions overlap, courts have held that the
19   parties are substantially similar.”) (Citing Adoma v. Univ. of Phoenix, Inc., 711 F. Supp. 2d 1142, 1147
20   (E.D. Cal. 2010)); Subbaiah v. GEICO Gen. Ins. Co., No. 219CV06717ABJPRX, 2019 WL 9904278, at
21   *5 (C.D. Cal. Dec. 11, 2019) (“Notably, Plaintiff and Munoz are absent members of each other’s
22   putative classes. Accordingly, the Court finds that the parties are substantially similar under the first-to-
23   file rule.”).
24           Here, the class proposed in the Authors Guild FCCAC is coextensive with, and entirely
25   subsumed by, the class in Tremblay. The Plaintiff in the New York Times Action is also entirely
26   subsumed by the Tremblay proposed class. There is also more than substantial overlap among the
27

28
      Master File No. 3:23-cv-03223-AMO              8
       PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
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 1   defendants in the three actions.9 There is no dispute that the actions are substantially similar. OpenAI

 2   itself conceded that the two actions are sufficiently similar for purposes of the first-filed rule. ECF No.

 3   31, ¶ 16. The parties are sufficiently overlapping for purposes of the rule.

 4            B.     The Tremblay Action and the S.D.N.Y. Actions Involve Similar Facts and Claims
 5            The factual and legal issues in the cases need not be identical, only substantially similar. Kohn,
 6   787 F.3d at 1240; see also Young, 526 F. Supp. 3d at 704 (“To determine whether two suits involve
 7   substantially similar issues, we look at whether there is ‘substantial overlap’ between the two suits.”).
 8            Here, the S.D.N.Y. Actions are similar to the first-filed instant action because both lawsuits
 9   arise from the same nucleus of fact and law. Both the S.D.N.Y. Actions and the instant action involve
10   the same class of literary authors seeking redress against essentially the same defendants for the same
11   infringing conduct. Specifically, all three lawsuits allege that OpenAI infringed plaintiffs’ copyrights
12   when they made copies of plaintiffs’ copyrighted works to train their large language models. Compare
13   ECF No. 1. with Authors Guild Action, ECF No. 69 (Saveri Decl., Exh. A); New York Times Action, ECF
14   No. 1 (Saveri Decl., Exh. E). Indeed, the actions contain causes of action for direct copyright
15   infringement and vicarious copyright infringement based on this same theory. Like the Tremblay
16   Complaint, the Authors Guild Complaint alleges that OpenAI likely trained its large language model
17   using “two internet-based books corpora” called “Books1” and “Books2,” which comprise copyrighted
18   materials. Compare, Tremblay Complaint, ECF No. 1, ¶¶ 24-35 with Authors Guild, ECF No. 69 (Saveri
19   Decl., Exh. A) at ¶¶ 92-112. Similarly, the Authors Guild Complaint regurgitates the same theory of
20   liability alleged against OpenAI in the first-filed Tremblay Complaint—that ChatGPT could create a
21   detailed summary of specific infringed works. Compare, ECF No. 1, ¶¶ 5, 38-41 with Authors Guild, ECF
22   No. 69 (Saveri Decl., Exh. A) at ¶ 149. That the Tremblay Action contains certain causes of action that
23

24

25   9
       The defendants are all OpenAI affiliates. Many of them are the same. Even though the later-filed
     S.D.N.Y. Actions include certain affiliate entities not named in the first-filed Tremblay Action (OpenAI
26
     LLC, OpenAI Global LLC, and OpenAI Holdings LLC) the difference is nominal because the non-
27   overlapping parties are clearly affiliates of OpenAI. See Kohn Law Grp. v. Auto Parts Mfg. Miss., Inc., 767
     F.3d 1237, 1240 (9th Cir. 2015) (“[C]ourts have held that the first-to-file rule does not require exact
28   identity of the parties”).
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 1   do not overlap with those in the S.D.N.Y. Actions is of no moment.10 See Schwartz v. Frito-Lay N. Am.,

 2   No. C-12-02740 EDL, 2012 WL 8147135, at *3 (N.D. Cal. Sept. 12, 2012) (“The issues need not be

 3   precisely identical for the first-to-file rule to apply; the rule can apply even if the later-filed action brings

 4   additional claims.”).

 5           At core, the S.D.N.Y. Actions allege claims against OpenAI for their trespass of plaintiffs’

 6   exclusive rights under the Copyright Act. Each of the lawsuits involve the same substantive questions of

 7   copyright law. Adjudication of these issues by one district court would “maximize judicial economy,

 8   consistency, and comity.” Kohn, 767 F.3d at 1240.

 9           C.      None of the Limited Exceptions to the First-Filed Rule Apply Here
10           None of the exceptions to the first-file-rule apply. “The circumstances under which an
11   exception to the first-to-file rule typically will be made include bad faith, anticipatory suit, and forum
12   shopping.” Alltrade, 946 F.2d at 628 (citations omitted). Far from showing that the first-to-file rule is
13   inapplicable, consideration of those factors show why the rule clearly applies here. The Tremblay Action
14   was not an anticipatory filing. It was the first case in the United States challenging this conduct, setting
15   forth allegations of facts and legal theories that have set the metes and bounds of all subsequent
16   litigation. Plaintiffs proceeded in good faith, organizing and consolidating this Action, negotiating and
17   entering the pretrial schedule, and advancing the litigation. The Authors Guild Action, filed three
18   months later, followed. The Defendants have engaged in forum shopping, attempting to achieve the
19   scheduling order previously denied by this Court.
20          Moreover, here, the first-to-file rule is also supported by other factors. In Micron Tech., Inc. v.
21   MOSAID Techs., Inc., 518 F.3d 897, 904 (Fed. Cir. 2008), the Federal Circuit held that “where the two
22   actions [are] filed almost simultaneously,” “[i]nstead of . . . automatically going with the first-filed
23

24

25   10
       The Tremblay Action includes causes of action for violations of the Digital Millennium Copyright Act
     – Removal of Copyright Management Information (“CMI”) (17 U.S.C. § 1202 (b)) (“the DMCA”),
26
     Unfair Competition (Cal. Bus. & Prof. Code §§ 17200, et seq.), Negligence, and Unjust Enrichment.
27   The standard requires “substantial similarity.” The overlap between the central causes of action is clear.
     Namely, defendants’ violated copyright law by training large language models on copyright protected
28   works. There is more than substantial similarity here.
      Master File No. 3:23-cv-03223-AMO              10
       PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
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 1   action, the more appropriate analysis takes account of the convenience factors under 28 U.S.C. §

 2   1404(a).” Among these factors are:

 3         (1) the location where the relevant agreements were negotiated and executed; (2) the state
           that is most familiar with the governing law; (3) the plaintiff’s choice of forum; (4) the
 4         respective parties’ contacts with the forum; (5) the contacts relating to the plaintiff’s
 5         cause of action in the chosen forum; (6) the differences in the costs of litigation in the two
           forums; (7) the availability of compulsory process to compel attendance of unwilling non-
 6         party witnesses; (8) the ease of access to sources of proof; (9) the presence of a forum
           selection clause; and (10) the relevant public policy of the forum state, if any.
 7

 8   Genentech, Inc. v. GlaxoSmithKline LLC, No. 5:10-CV-04255-JF, 2010 WL 4923954, at *2 (N.D. Cal.
 9   Dec. 1, 2010). Above all of these factors, “[t]he convenience of witnesses is often the most important
10   factor considered by the court when deciding a motion to transfer for convenience.” Id. (cleaned up).
11          Here, the balance of convenience weighs strongly in favor of the Northern District of California.
12   OpenAI’s corporate headquarters are located in the Northern District of California at 3180 18th Street
13   in San Francisco, within a stone’s throw of the courthouse. The technology and the commercial
14   products at issue were created, developed, marketed and sold from the Northern District of California.
15   As a result, many of the relevant documents and sources of proof are located in the Northern District of
16   California. Plaintiffs chose this forum for that reason, as well as the fact this Court routinely handles
17   complex copyright and other commercial matters, as well as class actions. In addition to party witnesses,
18   third parties and former employees are likewise located in the Northern District, within 100 miles of the
19   Court and therefore can be compelled to appear at trial. See Fed R. Civ. P. 45(c)(1) (100 mile rule).
20   Substantial evidence is located here, the precipitating conduct occurred here, and the vast majority of
21   the witnesses and other evidence are located here. In addition, the parties have retained counsel located
22   in this District. It would be significantly more expensive to litigate this matter in New York, far away
23   from the witnesses and counsel. The balance of convenience weighs heavily against allowing the
24   litigation to proceed in New York.11
25
     11
       There do not appear to be any relevant forum selection clauses. While the claims arise under federal
26
     copyright law, California clearly has an interest in regulating businesses and illegal conduct which take
27   place within its boundaries. California also has a large community of authors and other persons affected
     by the challenged conduct and likely represents one of the largest, if not the largest, components of the
28
     class. See eBay Inc. v. Digital Point Sols., Inc., 608 F. Supp. 2d 1156, 1162 (N.D. Cal. 2009)
      Master File No. 3:23-cv-03223-AMO              11
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 1            Additionally, there is no indication of forum shopping by Plaintiffs here that supports giving

 2   priority to the later-filed S.D.N.Y. Actions. In fact, the opposite is true. As OpenAI made plain here, it

 3   was their intent to seek transfer to the Northern District of California, until the Northern District of

 4   California denied OpenAI’s proposed litigation schedule. Authors Guild Action, ECF No. 31, ¶ 16.

 5   OpenAI changed their tune once they extracted concessions from plaintiffs in the S.D.N.Y. Actions,

 6   including the sequencing of summary judgment motions and class certification. See Sections I, II. A,

 7   supra. In other words, Defendants decided not to move to dismiss under the first-to-file rule in Authors

 8   Guild because those Plaintiffs agreed to give Defendants what this Court would not—i.e., Defendants’

 9   preferred sequencing of case management events. That is precisely the forum shopping that the first-to-

10   file rules exists to prevent, not permit. See Robeson v. Howard Univ., No. 00 CIV 7389 GBD, 2002 WL

11   122913, at *2 (S.D.N.Y. Jan. 30, 2002) (explaining that one exception to the first-filed rule is to

12   “protect[ ] potential plaintiffs who wish to resolve a controversy amicably, ‘without fear that the

13   defendant will be permitted to take advantage of the opportunity to institute litigation in a district of its

14   own choosing . . .’”); 800-Flowers, Inc. v. Intercontinental Florist, Inc., 860 F. Supp. 128, 132 (S.D.N.Y.

15   1994). Giving priority to the S.D.N.Y. Actions “would sanction the type of procedural gamesmanship

16   and litigation tactics the judicially declared exceptions to the first-to-file doctrine were designed to

17   guard against.” Zero-Techs., LLC v. The Clorox Co., No. 22-3989, 2024 WL 434169, at *12 (E.D. Pa. Jan.

18   30, 2024); see also Kohn Law Grp., 767 F.3d at 1240 (explaining that the rule’s application “avoids

19   awarding such gamesmanship and is consistent with the policy of the first-to-file rule, which is to

20   maximize judicial economy, consistency, and comity.”).

21            Accordingly, the Court should give priority to the Tremblay Action under the first-to-file rule

22   and enjoin Defendants from proceeding in the S.D.N.Y.

23      IV.      CONCLUSION
24            For the foregoing reasons, Plaintiffs respectfully request the Court grant this motion and enjoin
25   the S.D.N.Y. Actions and further enjoin Defendants and their counsel from proceeding in the Southern
26   District of New York.
27
     (“In the absence of an enforceable forum-selection clauses, it is apparent that eBay has alleged
28
     sufficient facts to establish that venue is proper in this district.”).
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 1   Dated: February 8, 2024                By:         /s/Joseph Saveri
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 2
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       PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENJOIN
      DEFENDANTS AND THEIR COUNSEL FROM PROCEEDING IN A SUBSTANTIALLY SIMILAR CASE IN THE
                                        SOUTHERN DISTRICT OF NEW YORK
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